        EXHIBIT A16




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 14                               UNITED STATES DISTRICT COURT
 15                                     DISTRICT OF NEVADA
 16   Cung Le, Nathan Quarry, Jon Fitch, Brandon       Case No.: 2:15-cv-01045-RFB-(PAL)
      Vera, Luis Javier Vazquez, and Kyle
 17   Kingsbury on behalf of themselves and all
      others similarly situated,                       [PROPOSED] DISCOVERY PLAN AND
 18                                                    SCHEDULING ORDER
                    Plaintiffs,
 19          v.
 20   Zuffa, LLC, d/b/a Ultimate Fighting
      Championship and UFC,
 21
                    Defendant.
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                  [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
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  1          Under Fed. R. Civ. P. 26(f) and Local Rule 26-1, the respective parties conducted a

  2   discovery planning conference on April 15, 2015. The parties previously submitted a joint

  3   proposal to this Court setting the case event dates up through the Class Certification hearing (ECF

  4   No. 206 at pp. 34-35). Plaintiffs also proposed dates that set out the timeframe of the briefing of

  5   dispositive motions, which this Court accepted and Ordered. (ECF No. 207). Upon invitation

  6   from the Court to submit a Proposed Discovery Plan and Scheduling Order, on September 23, the

  7   parties submitted competing proposals for the timing for the upcoming case deadlines. ECF Nos.

  8   297-1 and 297-2. On September 27, this Court held a Status Conference and Ordered that the

  9   case management deadlines shall be extended by 30 days without prejudice. (ECF No. 304). For

 10   the convenience of the parties and the Court, the parties now submit the below Discovery Plan

 11   and Scheduling Order in accordance with this Court’s Order, adjusted to account for deadlines

 12   falling on weekends and deadlines falling on or around holidays.

 13   Close of Fact Discovery                            May 1, 2017
      Plaintiffs’ Opening Expert Reports (class and      May 30, 2017
 14
      merits)
 15   Last Day to Depose Experts Concerning              June 26, 2017
      Opening Reports
 16   Opposition Expert Reports                          July 24, 2017
      Last Day to Depose Opposition Experts              August 21, 2017
 17
      Reply Expert Reports                               September 5, 2017
 18   Daubert Motions                                    October 2, 2017
      Class Certification Motion                         October 2, 2017
 19   Daubert Opposition Briefs                          November 21, 2017
      Class Certification Opposition Brief               November 21, 2017
 20
      Daubert Reply Briefs                               December 22, 2017
 21   Class Certification Reply Brief                    January 16, 2018
      Class Certification Hearing                        Court’s Convenience
 22   Summary Judgment Motions                           March 26, 2018
      Summary Judgment Opposition Briefs                 April 25, 2018
 23   Summary Judgment Reply Briefs                      May 25, 2018
 24

 25   IT IS SO ORDERED.

 26
            October 14, 2016
      Date: ________________________                       ____________________________________
 27                                                        Honorable Peggy A. Leen
                                                           UNITED STATES MAGISTRATE JUDGE
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 24                                           Vazquez, Brandon Vera, and Kyle Kingsbury

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                                       ATTESTATION OF FILER
  1

  2          The signatories to this document are myself and Michael Dell’Angelo, and I have

  3   obtained Mr. Dell’Angelo’s concurrence to file this document on his behalf.

  4

  5   Dated: October 12, 2016

  6

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  1                                      CERTIFICATE OF SERVICE

  2          The undersigned hereby certifies that service of the foregoing Discovery Plan and

  3   Scheduling Order was served on October 12, 2016 via the Court’s CM/ECF electronic filing

  4   system addressed to all parties on the e-service list.

  5
                                                     /s/ Michael Kim
  6
                                                     An Employee of Boies, Schiller and Flexner LLP
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